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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

   ANGELA PALMER,

                                       Plaintiff,
                                                              STIPULATION OF
                vs.                                           DISCONTINUANCE

   TOWN OF MANLIUS, NEW YORK;                          Civil Action No. 5:21-cv-00574
   CHIEF OF POLICE MICHAEL                             (DNH/ATB)
   CROWELL; INVESTIGATOR JAMES
   GALLUP; INVESTIGATOR DANIEL
   FILIP; CAPTAIN JEFFREY SLATER;
   CAPTAIN KEVIN SCHAFER; OFFICER
   SHAWN GWILT; TOWN SUPERVISOR
   EDMOND THEOBALD; SERGEANT
   JOHN PAUL, and JOHN DOE(S) and
   JANE DOE(S), in their individual and
   official capacities as officials, officers,
   agents, employees, and/or representatives
   of the Town of Manlius and/or the Manlius
   Police Department,

                                     Defendants.

                      IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned, the attorneys of record for all the parties to the above-entitled action

that whereas no party hereto is an infant or incompetent person for whom a

committee has been appointed and no person not a party has an interest in the subject

matter of this action, the above-entitled action be discontinued as against defendants

TOWN OF MANLIUS, NEW YORK; MICHAEL CROWELL; JAMES GALLUP;

DANIEL FILIP; JEFFREY SLATER; KEVIN SCHAFER; SHAWN GWILT;

EDMOND THEOBALD; JOHN PAUL, and JOHN DOE(S) and JANE DOE(S), in


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        Case 5:21-cv-00574-DNH-MJK          Document 51       Filed 03/10/24       Page 2 of 2



     their indiv idual and official capac ities as officials, officers,
                                                                          agen ts, empl oyees , and/o r

    repre senta tives of the Town of Manl ius and/o r the Manl ius
                                                                           Police Depa rtme nt, with

    prejudice, witho ut costs to eithe r parti es as again st the other
                                                                            s. This stipu latio n may

   be filed witho ut furth er notic e with the Clerk of the Cour t.

   DATED: Janu ary :2 b, 2024                                  DATED: Janu ary _ _ , 2024




                    sq.
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                                                             Steve n W. Willi ams, Esq.
  Bo. . .-~--- aw Firm , LLC
                                                             SMIT H SOV IK KEN DRIC K
  Attor neys for Plain tiff                                  & SUG NET , P.C.
  3000 McC onne llsvil le Road                               Attor neys for Defe ndan ts
  Blossvale, New York 1330 8                                 250 Sout h Clint on Stree t, Suite 600
  Telephone: (315) 820-4 417                                 Syrac use, New York 1320 2
                                                             Telep hone : (315) 474-2911



IT IS SO ORDERED                                              ______________________________
        10,
March ______, 2024                                            Hon. David N. Hurd
                                                              Senior United States District Judge




(Sl979048 . I I
